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                              No. 24-13895

       IN THE UNITED STATES COURT OF APPEALS FOR
                  THE ELEVENTH CIRCUIT


                 United Faculty of Saint Leo, National,
                    Education Association Florida,
                 Education Association, American, and
                   Federation of Teachers, AFL-CIO
                              Petitioner,
                                    v.
                    National Labor Relations Board,
                             Respondent,
                                   and
                        Saint Leo Univerity, Inc.,
                         Intervenor-Respondent.

     On Petition for Review from the National Labor Relations Board
Case No.’s 12-CA-275612, 12-CA-284360, 12-CA-275645, 12-CA-275644,
     12-CA-275641, 12-CA-275641, 12-CA-275642, 12-CA-275640,
                    12-CA-275617 and 12-CA-275639


          PETITIONER’S NOTICE OF WITHDRAWAL
 OF PETITION FOR REVIEW FROM THE DECISION AND ORDER
 OF THE NATIONAL LABOR RELATIONS BOARD ENTERED ON
                   SEPTEMBER 30, 2024


                                Richard Siwica, Esq.
                                EGAN, LEV & SIWICA, P.A
                                Post Office Box 2231
                                Orlando, Florida 32802
                                Telephone: (407) 422-1400
                                Attorneys for Appellant
                                United Faculty of Saint Leo, et al
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                                  No. 24-13895
                 United Faculty of Saint Leo et al v. NLRB, et al

                          Certificate of Interested Persons
                                         and
                               Corporate Disclosure
                                     Statement

      1.     Pursuant to 11th Cir. R. 26.1-3(b), counsel certifies that no publicly

traded corporations have an interest in this proceeding.

      2.     Pursuant to Federal Rule of Appellate Procedure 26.1(a), Petitioner,

United Faculty of Saint Leo, et al, certifies that it is not publicly traded, and that it

does not have any parent corporations, and that no corporate entity owns 10% or

more if its stock.

      1.     Abruzzo, Jennifer A. (counsel for Respondent)

      2.     Akerman, LLP (counsel for Intervenor-Respondent)

      3.     American Federation of Labor-Congress of Industrial Organizations

             (AFL-CIO) – (Affiliated with United Faculty of Saint Leo)

      4.     American Federation of Teachers – (Affiliated with United Faculty of

             Saint Leo)

      5.     Anmahouni, Varant (counsel for Amicus Curiae)

      6.     Annexy, Beatriz (counsel for Petitioner)

      7.     Barclay, Steven (counsel for Respondent)

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   8.    Becket Fund for Religious Liberty (counsel for Intervenor-

         Respondent)

   9.    Burdick, Ruth E. (counsel for Respondent)

   10.   Board, NLRB – Kaplan, Marvin E.

   11.   Board, NLRB – McFerran, Lauren M.

   12.   Board, NLRB – Prouty, David M.

   13.   Board, NLRB – Wilcox, Gwynne A.

   14.   Chen, Daniel L. (counsel for Intervenor-Respondent)

   15.   Cohen, David (counsel for Respondent)

   16.   Egan, Joseph, Jr. (counsel for Petitioner)

   17.   Egan, Lev, & Siwica, P.A. (counsel for Petitioner)

   18.   Evanson, Blaine, H. (counsel for Amicus Curiae)

   19.   Fleshman, Benjamin A. (counsel for Intervenor-Respondent)

   20.   Forte, David (Amicus Curiae)

   21.   Gaylord, Amy Moor (counsel for Intervenor-Respondent)

   22.   Gibson Dunn & Crutcher LLP (Counsel for Amicus Curiae)

   23.   Goodrich, Luke W. (counsel for Intervenor-Respondent)

   24.   Habenstreit, David (counsel for Respondent)

   25.   Heaney, Elizabeth Ann (counsel for Respondent)

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   26.   Hill, Kelly (counsel for Intervenor-Respondent)

   27.   Isbell, Kellie (counsel for Respondent)

   28.   Jason, Meredith (counsel for Respondent)

   29.   Judge, NLRB - Giannasi, Robert

   30.   Judge, NLRB – Sandron, Ira

   31.   Kim, Minsoo (counsel for Amicus Curiae)

   32.   Lee, James, R. (counsel for Amicus Curiae)

   33.   Lev, Tobe (counsel for Petitioner)

   34.   National Education Association Florida Education – Affiliated with

         United Faculty of Saint Leo

   35.   National Labor Relations Board (Respondent)

   36.   Nestor, Branton, J. (counsel for Amicus Curiae)

   37.   Ohr, Peter Sung (counsel for Respondent)

   38.   Parker, Heidi (counsel for Petitioner)

   39.   Plympton, John W. (counsel for Respondent)

   40.   Rassbach, Eric C. (counsel for Intervenor-Respondent)

   41.   Saint Leo University, Inc. (Intervenor-Respondent)

   42.   Shelley, Staci Rhodes (counsel for Intervenor-Respondent)

   43.   Silverman, Scott T. (counsel for Intervenor-Respondent)

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         44.   Siwica, Richard (counsel for Petitioner)

         45.   United Faculty of Saint Leo, National Education Association Florida
               Education, American Federation of Teachers, AFL–CIO (Petitioner)

         46.   Varberg, Jordan, T., Saint Leo, Inc. (counsel for Intervenor-

               Respondent)

         47.   Weinberger, Lael, (counsel for Amicus Curiae)

         48.   Zerby, Christopher (counsel for Respondent)

     1. Pursuant to 11th Cir. R. 26.1-3(b), counsel certifies that no publicly traded

corporations have an interest in this proceeding.

     2. Pursuant to Federal Rule of Appellate Procedure 26.1(a), Petitioner, United

Faculty of Saint Leo, et al, certifies that it is not publicly traded, and that it does not

have any parent corporations and that no corporate entity owns 10% or more if its

stock.




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          NOTICE OF WITHDRAWAL OF PETITION FOR
   REVIEW FROM THE DECISION AND ORDER OF THE NATIONAL
   LABOR RELATIONS BOARD ENTERED ON SEPTEMBER 30, 2024

       Petitioners, UNITED FACULTY OF SAINT LEO, ET AL, by and through

undersigned counsel, hereby gives notice that it withdraws its’ petition for review

in this case.

Dated this 2nd day of June, 2025.

                                       Respectfully submitted by:
                                       /s/ Richard Siwica
                                       Richard Siwica, Esq.
                                       FL Bar No. 377341
                                       EGAN, LEV & SIWICA, P.A
                                       Post Office Box 2231
                                       Orlando, Florida 32802
                                       Telephone: (407) 422-1400
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                                       Primary Email:     rsiwica@eganlev.com
                                                          dvaughan@eganlev.com
                                                          msilva@eganlev.com

                                       Attorney for Petitioners

                 CERTIFICATE OF FILING AND SERVICE

       I HEREBY CERTIFY that on June 2, 2025, I caused to be filed the foregoing
Notice of Withdrawal with the Clerk of the Court for the United States Court of
Appeals for the Eleventh Circuit by using the appellate CM/ECF system. I further
certify that all counsels of record are registered CM/ECF users and were served
through the CM/ECF system:
                                             s/ Richard Siwica
                                             Richard Siwica, Esq.
                                                                                      1
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                     CERTIFICATE OF COMPLIANCE

      This document complies with the type-volume limit of Fed. R. App. P. 32(g)

because it contains 49 words.

      This document also complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it

has been prepared in a proportionally spaced typeface using Microsoft Word in 14-

point Times New Roman.

                                     /s/ Richard Siwica
                                     Richard Siwica, Esq.




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